This case was affirmed at a previous day of this term, and now comes before us on motion for rehearing. There is nothing new in appellant's motion except he, for the first time, insists that the verdict does not sustain the judgment in that the verdict is for only five years imprisonment in the penitentiary, whereas the judgment and sentence were for fifty years. We understand counsel, in the original submission of the case, to note this variance as apparent in the record, but stated that it was a mere clerical error and desired to make no point on same, as the verdict was for fifty years, but inasmuch as the motion for rehearing presented this point, we were constrained to order a certiorari in order to determine the correctness of the record. In obedience to said certiorari the clerk of the District Court of Harris County has forwarded a certified copy of the verdict showing that same was a verdict for fifty years imprisonment by the jury, and he has also forwarded to us the original indictment with the original verdict on the back thereof certified to. We copy from said indictment the verdict as follows: "We the jury find the defendant guilty of an assault with the intent to commit the offense of rape as charged in the indictment and assess his punishment at (50) fifty years imprisonment in the State penitentiary. W.H. Taylor, Foreman." This correction makes the record straight, and conforms to the judgment and sentence. We have carefully reviewed appellant's assignments in motion for rehearing, and they present matters heretofore passed on by this court.
There being no errors in the record, the motion for rehearing is overruled.
Overruled.
Brooks, Judge, absent.